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                                                      r
                            sovTuEuxmsTmc'  rovFtzomtA      N.w A

                                CA SE N O . 19-C R -20261-CM A


  UM TED STATES OF AM ERICA

  V.

  JUSTIN BOCCIO,

                       D efendant.
                                                /


                                     PLEA A GREEG NT

         TheUnited StatesAttom ey'sOfsceforthe Southem DistdctofFlorida (GçthisOffice''l
  and Justin Boccio (hereinaAer refen'
                                     ed to as the lr efendanf') enter into the following
  agreem ent:

                TheDefendantagreestojleadguiltytoCotmts1and2oftheIndictment.Count
  1 chargesthe Defendantwith conspiracy to comm itkidnapping,in violation ofTitle 18,United

  StatesCode,Section 1201(c). Cotmt2 chargesthe defendantwith kidnapping,in violation of
  Title 18,United StatesCode,Sections 1201(a)(1)and 2. The Defendantacknowledgesthathe
  hasread a11of the charges againsthim contained in the Indictmentand thatthe charges have

  been fully explained to him by hisattom ey.

         2.     The Defendant is aware that the sentence w ill be imposed by the Court after

  considering the advisory Federal Sentencing Guidelines and Policy Statements (hereinafter
  Glsentencing Guidelhles''). The Defendantacknowledges and tmderstandsthatthe Courtwill
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   compute an advisory sentencetmderthe Sentencing Guidelinesand thatthe applicableguidelines

   willbe determ ined by the Courtrelying in parton the resultsofapre-sentence hw estigation by

   the Court'sprobation om ce,which investigation willcom mence afterthe guilty plea hasbeen

   entered. The Defendantisalso aware that,tmdercertain circumstances,the Courtm ay depart

   from the advisory sentencing guidelinerange thatithascomputed,and may raise orlowerthat

   advisory sentence tmder the Sentencing Guidelines. The Defendant is further aware and

   understandsthattheCourtisrequired to considerthe advisory guidelinerange determ ined tmder

   the Sentencing Gtlidelines,butisnotbotmd to im pose asentence within thatadvisory range;the

   Courtis perm itted to tailorthe ultim ate sentence in lightofother stattltory concem s,and such

   sentence m ay be either m ore severe or less severe than the Sentencing Guidelines' advisory

   range. Knowing thesefacts,theDefendantunderstandsand acknowledgesthattheCourthasthe

   authority to impose any sentence within and up to the statutory m axim um authorized by law for

   theoffensets)identifedinparagraph 1andthattheDefendantmay notwithdraw thepleasolely
   asa resultofthesentenceimposed.

                 The Defendant also understands and acknow ledges that as to the offense of

   conspiracy to com mit kidnapping,as charged in Count 1,the Courtm ay im pose a stamtory

   maximllm term ofimprisonm entofup to life;and asto the offense oflddnapping,ascharged in

   Cotmt2,the Courtm ay impose a stattltory m axinrlm term of imprisonm entofup to life. ln

   addition to any period ofimprisonm ent,asto each cotmt,the Courtm ay also impose aperiod of

   supervised release ofup to five (5) years to commence atthe conclusion ofthe peziod of
   im prisonment. In addition to a term of imprisonm entand supervised relemse,the Courtmay

   im pose afineofup to the greaterof$250,000,ortwicethepeclmiary gain orlosscaused by the
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  offense,ifany,aswellasrestitution.

                The Defendant further      derstands and acknowledges that, in addition to any
                                       3
  sentenceimposedunderparapaphv ofthisagreement,aspecialassessmenti!
                                                                   lthenmotmtof
                                                                                                  tal-ta
  $100.00 willbe imposed asto each cotmt,fora totalof$200.00. The Defendantagreesthatany
       '
   .



  special assessm ent imposed shall be paid at the tim e of sentencing. If the Defendant is

  fmancially unableto pay the specialmssessm ent,the Defendantap eesto presentevidencetothis

  Office and the Courtatthe tim e ofsentencing asto the reasons for the Defendant's failtlre to

  Pay.

                Tlzis Offce reserves the rightto inform the Courtand the probation office ofa11

  facts pertinent to the sentencing process, including a11 relevant inform ation concerning the

  offenses comm itted, whether charged or not, as well ms concerning the Defendant and the

  Defendant's backgrotmd. Subject only to the express terms of any agreed-upon sentencing
  recom mendationscontained in thisagreem ent,this Office furtherreservesthe rightto m ake any

  recom m endation asto thequality and quantity ofpunishment.

           6.   TheDefendantshallcooperate with 1aw enforcem entoo cials,and attorneyswith

  thisOflice,theUnited StatesAttorney'sOftk eforthe Southern DistrictofFlorida,byproviding

  full,complete and truthful infonuation regarding his knowledge, conduct and actions wllile

  involved in this offense and by providhlg active cooperation in ongoing investigations if

  requested to do so. Ifcalled upon to do'so,the Defendantshallprovide com plete and tnzthflzl

  testimonybeforeanygrandjuryortrialjuryin anycriminalcase,inany civilproceedingortrial,
  and in any administrative proceeding or hearing. In carrying out his obligations under this

  paragraph Defendant shallneither minimize his own involvement nor fabricate,m inim ize or
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  exaggeratetheinvolvem entofothers. IftheDefendantintentionally providesany incompleteor

  untnlthflllstatements ortestimony,his actions shallbe deemed a m aterialbreach of this Plea

  Agreem ent and this Offce shall be 9ee to pursue a11 appropdate charges against him

  notwithstanding any agreementsto forbear9om bringing additionalchargesasm ay be othem ise

  setforth inthisPlea Agreem ent.

                '
                I'
                 he Defendant shall provide the Probation Office and cotmsel for the United

  Stateswithafull,completeand acctlratepersonalfinancialstatementwithinthirty (30)daysof
  adjudication of guilt as contemplated in this Plea Apeement. If the Defendantprovides
  incomplete oruntruthfulstatem entsin hispersonalfinancialsttement,orfailsto tim ely provide

  his personalfm ancial statem ent,such action shall be deem ed a m aterial breach of this Plea

  Agreem ent and the United States shallbe free to pm sue all appropriate charges against the

  Defendantnotwithstandingany agreem entsothem isesetforth in thisPleaAgreem ent.

                'Ihis Office ap eesthatitwillrecom m end atsentencing thatthe Courtreduceby

  two levels the sentencing guideline level applicable to the Defendant's offense,ptlrsuant to

  Section 3E1.1(a) ofthe Sentencing Guidelines,based upon the Defendant's recognition and
  aY rm ative and tim ely acceptnnce of personalresponsibility. Ifatthe time of sentencing the

  Defendant's offense level is determ ined to be 16 or greater,this Offke will file a m otion

  requesting an additional one leveldecrease pursuantto Section 3E1.1(b) of the Sentencinj
  Guidelines,stating thattheDefendanthas assisted authoritiesin the investigation orprosecution

  ofthe Defendant'sown misconductby tim ely notifying authorities ofthe Defendant'sintention

  to enter a plea of guilty,thereby permitting the governm ent to avoid preparing for trial and

  permitting the government and the Courtto allocate their resources efficiently. Tllis Office,
                                               4
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  however,will not be required to m ake this motion and sentencing recomm endation if the

  Defendant: (a)failsorrefusestomakea111,accurateand completedisclosuretotheprobation
  ofsce ofthecircllm stancessurrotmdingtherelevantoffense conductand theDefendant'spresent

  financialcondition;(b)isfotmdtohavemisrepresentedfactstothegovernmentpriortoentedng
  into thispleaagreement;or(c)commitsany misconductafterentedng intothispleaagreement,
  including butnotlim ited to committing a state orfederaloffense,violating any term ofrelease,

  orm akingfalsestatementsormisrepresentationsto alzy governmenGlentity orofficial.

          9.     ThisOfficereservesthe zightto evaluate the natureand extentoftheDefendant's

  cooperation and to m ake the Defendant'scooperation,orlack thereof,known to the Courtatthe

  time ofsentencing. lf in the sole and llnreviewablejudgmentofthisOftk ethe Defendant's
  cooperation is of such quality and signifkance to the investigation or prosecution of other

  criminalmattersastowarranttheCourt'sdownwarddeparture9om thesenienceadvisedbythe
  Sentencing Guidelines,thisOfdce may atorbefore sentencing make am otion pursuantto Title

   l8,United States Code,Section 3553(*, Section 5K1.1 of the Sentencing Guidelines, or
  subsequent to sentencing by m otion pursuant to Rule 35 of the Federal Rules of Criminal

  Procedm e,reflecting thattheDefendanthmsprovided substantialassistanceand recom mending a

   sentence reduction. The Defendant acknowledges and agrees,however,that nothing in this

  Agreem entm ay be construed to require tltis Office to tile such a motion and thatthis Office's

   mssessm ent'of the nature, value,trutbflllness, com pleteness, and acctlracy of the D efendant's

   cooperation shallbebinding on theDefendant.

          10.    The Defendant understands and acknowledges that the Court is under no

   obligation to grant a motion by this Office pursuantto Title 18,United States Code, Section
                                                  5
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  3553(e),5K1.1 of the Sentencing Guidelines or Rule 35 of the Federal Rules of Criminal
  Procedure,as referred to in paragraph 10 of tbis Agreement,should tltis Offce exercise its

  discretionto ;lesuch am otion.

         11.   The Defendant is aware thatthe sentence has not yetbeen determ ined by the

  Court. The Defendant is also aware that any estim ate of the probable sentencing range or

  sentence that the defendant m ay receive,whether that estim ate com es from the Defendant's

  attom ey,thisOffice,orthe probation office,isaprediction,nota promise,and isnotbinding on

  this Offke,the probation office or the Court. The defendant tmderstands further that any

  recomm endation thatthis Ofsce m akes to the Courtasto sentencing,whetherpursuantto this

  agreem ent or otherwise, is not binding on the Court and the Court m ay disregard the

  recomm endation in its entirety. The defendantunderstands and acknowledges,as previously

  acknowledged in paragraph 3 above,thatthe Defendantm ay notwithdraw hisplea based upon

  the Court's decision notto accepta sentencing recomm endation made by the Defendant,this

  Oflke,orarecommendation madejointlybytheDefendantandthisOfdce.
         12.   This Office and the Defendantagree that,although notbinding on the probation

   oflkeortheCourt,they willjointly recommendthattheCourtmakethefollowingfindingsand
   conclusionsasto thesentencetobeimposed:

         (a)   BaseOffem eLevel:
               TheDefendant'sbaseoffenselevelisth1.
                                                  11 two(32),perU.S.S.G.j2A4.1(a);
         (b)   BodilylnjurytotheVictim :
               The Defendant's offense levelshallbe increased by two (2) levelspursuantto
                U.S.S.G.j2A4.1(b)(2)(B)becausethevictim sustainedseriousbodilyinjury;and
                                              6
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         (c)    DangerousW eaponUsed:
                                             !

                The Defendant'soffense levelshallbe increased by two (2)levelspttrsuantto
                U.S.S.G.j 2A4.1(b)(3),as a dangerous weapon (a ftrearm) was used in the
                    offense.

         13.    This Offce and the Defendant have not reached any agreem ent as to the

  applicabilityornon-applicability ofanyspecitk offensechracteristicsorChapter3 adjustments
  otherthan assetforth in parap aphs8and 12 ofthisagreem ent.

                    The Defendantapees,in an individllnland any othercapacity,to forfeitto the

  United States,voluntarilyandimmediately,a11rights,title,and interest,pursuantto 18U.S.C.j
  981(a)(1)(C),to any property,realorpersonal,which constitutesorisdedved f'
                                                                           rom proceeds
  traceable to the offense of conviction. In addition, the Defendant agrees to forfeiture of

  substitutepropertyptlrsuantto21U.S.C.j853û9.
                    The Defendantfurther agrees that forfeiture is independent of any assessment,

  fme,cost,restitution,orpenalty thatm ay be imposed by the Court. The Defendantknowingly

  and voluntadly agreesto waive a11constitutional,legal,and equitable defensesto the forfeittlre,

  including excessive fmes under the Eighth Am endm entto the United SGtes Constitm ion.In

  addition,theDefendantagreestowaive:mlyapplicabletimelimitsforadministrativeorjudicial
  forfeitureproceedings,therequirementsofFed.R.Crim .P.32.2 and 43(a),and any appealof
  the forfeiture.

         16.        The Defendantalso agrees to fully and truthfully disclose the existence,nattlre

  and location of a1l assets in which the Defendant has or had any direct or indirect fmancial

  interest or conkol,and any assets involved in the offense ofconviction. '
                                                                          I'he Defendantalso

                                                   7
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  agreesto take al1stepsrequested by theUrlited Statesforthe recovery and forfeitureofa11assets

  identi/ed by theUnited Statesassubjectto forfeitme.Thisincludes,butisnotlimited to,the
  tim ely delivery upon requestofal1necessary and appropriate doùum entation to delivergood and

  m arketabletitle,consentingto a1lordersofforfeiture,and notcontesting orimpeding in any way

  with any crim inal,civiloradm iniskativeforfeitureproceeding concem ingtheforfeiture.

         17.    The Defendantacknowledges thatbecause the offenses of conviction occun'
                                                                                      ed

  afterApril24,1996,restitution ismandatory withoutregard to theDefendant'sabilityto pay and

  thatthe CourtmustordertheDefendantto pay restitution forthefulllosscaused by hiscriminal

  conductpursuantto 18U.S.C.j3663A.
         18.    The Defendantisaware thatTitle 18,United StatesCode,Section 3742 and Title

  28,United StatesCode,Section 1291 afford him therightto appealthesentence imposed in this

  case. Acknowledging this,in exchange forthe tmdertakingsm ade by the United Statesin this

  plea ap eem ent,theDefendanthereby waives al1rightscoe erred by Sections 3742 and 1291 to

  appealany sentence im posed,including any forfeiture or restitution ordered,or to appealthe

  mnnnerin which thesentencewasimposed,lmlessthe sentenceexceedsthem aximum perm itted

  by statute or is the resultof an upward departure and/or upward variance from the advisory

   guidelinerangethatthe Courtestablishesatsentencing. The Defendantfurtherunderstandsthat

  nothing in thisagreem entshallaffectthe govem m ent'srightand/orduty to appealassetforth in

  Title 18,United StatesCode,Section 3742(b)and Title 28,United StatesCode,Section 1291.
  However,iftheUnited States appealsthe Defendant's sentenceptlrsuantto Sections3742(b)
   and/or 1291,the Defendantshallbe released from the above waiver of appellate rights. By

   signing thisap eement,theDefendantacknowledgesthatthe Defendanthasdiscussed the appeal
                                                8
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   waiversetforth in thisagreem entwith theDefendant'sattom ey. The Defendantfurtheragrees,

   togetherwith tllis Ofsce,to requestthatthe Courtenter a specifk fm ding thatthe Defendant's

   waiverofhisdghtto appealthesentenceto beim posed in thiscasewasknowing andvoltmtary.

          19.    Defendantagreesthatifhefailsto com ply with any oftheprovisionsofthisplea

   agreem ent,including the faillzre to tender itto the Court,m akes false or misleading statem ents

   beforetheCourtorto any agentsoftheUnited States,com mitsany furthercrim es,orattemptsto

   withdraw theplea(priorto orafterpleadingguiltytothechargesidentifedin paragraph one(1)
   above),this Oo ce willhave the l'ightto charactedze such conductas a breach oftbisplea
   agreement.Intheeventofsuch abreach:(a)thisOflkewillbe9eef'
                                                            rom itsobligationsunder
   the plea agreem ent and further m ay take whatever position itbelieves appropriate as to the

   sentence and the conditions ofthe Defendant's relemse (for exnmple,shotlld the Defendant
   com mit any conduct after the date of tllis plea agreement that wduld form the basis for an

   increase in the Defendant's offense levelorjustify an upward departure- examplesofwhich
   include butarenotlimited to,obstruction ofjustice,failme to appearfora courtproceeding,
   criminalconductwhile pending sentencing,and false statem entsto 1aw enforcementagents,the

   Probation Ofdcer,orCourt- this Oo ce isfree tmdertllisagreementto seek an increase in the

   offenselevelbased on thatpost-agreementconduct);(b)theDefendantwillnothavetherightto
   withdraw theguiltyplea;(c)theDefendantshallbefully subjecttocriminalprosecution forany
   othercrimeswhichhehascommittedormightcommit,ifany,includingperjuryandobstnzction
   ofjustice;and (d)the Defendantwaivesany protectionsafforded by Section 1B1.8(a) ofthe
   Sentencing Guidelines,Rule 11ofthe FederalRulesofCriminalProcedureand Rule410 ofthe

   FederalRtllesofEvidence,and thisOflke willbeâeeto useagainsttheDefendant,directly and
                                                  9
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   indirectly,in any criminalorcivilproceeding any ofthe information,statem ents,and materials

   provided by him pursuantto tbisplea agreem ent,including offering into evidence orotherwise

   using the attached Stipulated Fact'ual Proffer at a trial as to the remaining cotmts of the

   Indictm ent,oron othercharges.

         20.     TM sisthe entire plea agreem entand tmderstanding between thisOffice and the

   Defendant. Thereareno otheragreem ents,prom ises,representationsorunderstandings.

                                                A FAJARDO ORSHAN

                                           I D STATES ATTORNEY
                                         S   H ERN D ISTRICT OF FLO RIDA
                                                           W



   Date: tri 1ö1                     By:
                                            1    . LLER
                                            S ISTAN T U N ITED STA TES A TTORN EY
                                              THERN D ISTRICT OF FLO RIDA

                                                      /.          *

   Date:Alaq't-l                     By:      .
                                               Tm BO CCIO
                                                         ,

                                           D EFEN DA N T



   oate,qIapstq                      By:KENNETH LANGE,
                                                  ' EsQ.
                                           cou x sEl-FoR D EFEXD A N T
